Case 2:05-cr-00003-JRG-RSP          Document 632       Filed 11/29/05    Page 1 of 2 PageID #:
                                           2876

                          United States District Court
                                 EASTERN DISTRICT OF TEXAS
                                    M ARSHALL DIVISION


 UNITED STATES OF AMERICA                       §
                                                §
 V.                                             §           CASE NO. 2:05CR3(34)
                                                §
 LEON LESLEY WAFER, JR.                         §


             FINDINGS OF FACT AND RECOMMENDATION ON GUILTY PLEA
                  BEFORE THE UNITED STATES MAGISTRATE JUDGE

        Pursuant to 28 U.S.C. § 636(b) this matter has been referred by the District Court for

 administration of the guilty plea and allocution under Rule 11 of the Federal Rules of Criminal

 Procedure.

        On this day, this cause came before the undersigned United States Magistrate Judge

 for guilty plea and allocution of the Defendant on an Indictment charging in Count 19

 violation of Title 21, USC, Section 841(a)(1). After conducting said proceeding in the form

 and manner prescribed by Fed. R. Crim. P. 11 the Court finds:

        a.      That the Defendant after consultation with counsel of record, has knowingly

 and voluntarily consented to the administration of the Guilty Plea and Allocution in this cause

 by a United States Magistrate Judge subject to a final approval and imposition of sentence by

 the District Court.

        b.      That the Defendant and the Government have entered into a plea agreement

 which has been filed and disclosed in open court pursuant to Fed. R. Crim. P. 11(e)(2).

        c.      That the Defendant is fully competent and capable of entering an informed plea,

 that the Defendant is aware of the nature of the charges and the consequences of the plea, and

 that the plea of guilty is a knowing and voluntary plea supported by an independent basis in

 fact containing each of the essential elements of the offense.
.   Case 2:05-cr-00003-JRG-RSP         Document 632       Filed 11/29/05    Page 2 of 2 PageID #:
                                              2877

            d.     The Defendant understands his constitutional and statutory rights and wishes

     to waive these rights; including the right to a trial by jury and the right to appear before a

     United States District Judge.

                   IT IS THEREFORE RECOMMENDED that the District Court accept the Plea

     Agreement and the Guilty Plea of the Defendant, and that LEON LESLEY WAFER, JR.

     should be finally adjudged guilty of that offense.

      SIGNED this 29th day of November, 2005.




                                                ____________________________________
                                                CAROLINE M. CRAVEN
                                                UNITED STATES MAGISTRATE JUDGE




                                                   2
